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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF VIRGINIA
                           Charlottesville Division
 LORI FITZGERALD, et al.,

        Plaintiffs,

 v.                                                    Civil Action No. 3:20-cv-00044-NKM-JCH

 JOSEPH WILDCAT SR., et al.,

        Defendants.

     DEFENDANT SKYTRAIL SERVICING GROUP, LLC’S MOTION TO COMPEL
   INDIVIDUAL ARBITRATION OF PLAINTIFF MAVILLE’S CLAIMS AND TO STAY
                MAVILLE’S CLAIMS PENDING ARBITRATION

         Defendant Skytrail Servicing Group, LLC, hereby respectfully moves this Court pursuant

  to the Federal Arbitration Act, 9 U.S.C. § 1, et seq., and Fed. R. Civ. P. 12(b)(3) to compel

  arbitration of Plaintiff Angela Maville’s claims and for an order staying all proceedings related to

  the same until an arbitration has been conducted in accordance with the written arbitration

  agreement at issue herein. Skytrail Servicing incorporates the arguments set forth in its supporting

  Memorandum filed contemporaneously herewith.

         WHEREFORE, Skytrail Servicing Group, LLC respectfully requests that this Court

  compel arbitration of Plaintiff Angela Maville’s claims and stay her claims against Skytrail

  Servicing pending arbitration, together with such other and further relief as the Court deems just

  and proper.
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                               SKYTRAIL SERVICING GROUP, LLC


                               By: /s/David N. Anthony
                                  David N. Anthony
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                                  Servicing Group, LLC
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                                     CERTIFICATE OF SERVICE

          I hereby certify that on this 19th day of December 2022, I caused the foregoing document

  to be filed with the Clerk of Court using the CM/ECF system, which will send notice of electronic

  filing to all counsel of record.



                                           /s/ David N. Anthony
                                           David N. Anthony
                                           Virginia State Bar No. 31696
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